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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


 THE     HUNTINGTON           NATIONAL
 BANK,
 A national banking association,

                Plaintiff,                   Civil Action No. 2:22-cv-11290

 v.                                          Hon. Gershwin A. Drain

 BUCCAROO LLC, a Michigan limited
 liability company, BUCAROO TOO LLC,
 a Michigan limited liability company,
 DINO DROP, INC., a Michigan
 corporation, 45 DEGREE
 HOSPITALITY, INC., a Michigan
 corporation, WILLIAM ROBERT DUKE
 TAYLOR, and DEAN BACH, jointly and
 severally,

                  Defendants.

_________________________/

 David A. Lerner (P44829)            Sara K. MacWilliams (P67805)
 PLUNKETT COONEY                     Paige Serra (P84568)
 Attorney for Plaintiff              MACWILLIAMS LAW PC
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                                     paige@macwilliamslaw.com

 Scott Norton (P35717)               Frances B. Wilson (P
 Scott Norton Law                    Dawda, Mann, Mulcahy & Sadler, PLC

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 Attorney for Dean Bach              Attorney for M. Shapiro Management
 898 N. Adams Road                   Company LLC, Court Appointed Receiver
 Suite 2                             39533 Woodward Avenue
 Birmingham, MI 48304                Suite 200
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                                     fwilson@dmms.com


_________________________/


    MOTION REGARDING PAYMENT OF FEES INCURRED FOR BENEFIT OF
                      RECEIVERSHIP ESTATE




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                   STATEMENT OF ISSUES PRESENTED


ISSUE:

      Whether the Court should require the Receiver to permit payment of

outstanding fees incurred on behalf of the companies in receivership with the

Plaintiff’s permission and approval?

ANSWER:

      Defendant Duke Taylor and counsel: YES

      Receiver’s position: NO




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                      CONTROLLING AUTHORITY



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                                   CASES

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   I.      INTRODUCTION

   Defendant Duke Taylor, through the undersigned counsel, stipulated to this

receivership in hopes that a receiver could cut through the mess made by his former

business partner, Dean Bach, who has repeatedly refused to cooperate in efforts to

wind down the businesses and get the bank paid. In fact, in January of 2022, Mr.

Taylor, through his commercial broker Jodi Tippins, had a deal on the table to close

a sale of the receivership commercial real property located on Vester Street, but Mr.

Bach refused to sign a simple consent resolution, replaced his business attorneys at

Butzel Long with a new attorney who embarked on a litigation crusade, threatened

title companies in hopes someone would pay him a ransom, and otherwise led to this

dispute.

   Despite the delay, the cash buyer who wanted to purchase the Vester Street

property in January 2022 is still willing and able to purchase the property with no

due diligence whatsoever, but the receiver has yet to follow up on this and is

apparently pursuing new potential buyers who would require legal fees, due

diligence delays and extensive professional fees.

   This is exactly what Taylor was afraid of when he tried to avoid a receivership:

a simple receivership with an active buyer turning into an expensive mess of

professionals billing excessive time with no solutions in sight. Sure enough,

unfortunately, nearly as soon as Taylor stipulated to the receivership, a multitude of


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professionals appeared in this case and now are opposing paying bills that the bank

had previously acknowledged benefited this estate.

   Taylor’s counsel, pursuant to an agreement with Bach that permitted Taylor to

manage the corporate wind-down pre-receivership, asked his attorneys to attend to

important legal work that in effect made them unofficial receivers. This included

getting the electricity back on when Bach failed to pay the bills in the midst of winter,

getting the liquor licenses and insurance back up to date, and defending collection

claims. Taylor also retained separate company counsel who likewise defended the

company, including managing to settle a $300,000 collection case for less than

$50,000. But for that legal work, this receivership estate would have far less value.

Binding case law permits attorneys who contributed value to a receivership estate to

be paid, through attorney liens and motions like this. Taylor and his counsel

respectfully request that the Court enter an order permitting the payment of

outstanding legal fees from the funds held in trust by MacWilliams Law PC.

   II.    FACTS

   The jointly-owned businesses retained corporate counsel to defend it in actions

filed by creditors and protect the companies

   After the co-owners of the businesses in receivership reached a settlement [Ex.

1], Taylor, pursuant to the settlement agreement, directed his attorneys to do work

for the jointly-owned businesses in order to preserve them for the benefit of



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creditors. To date, MacWilliams Law PC’s outstanding legal balance for this work

preserving the company assets is $21,073.00. This work was performed by Paige

Serra, an associate attorney, at a rate of only $200/hour, or about half of what the

receiver’s attorney and the bank’s own attorney charges per hour. Thus not only did

Ms. Serra’s work protect the bank’s interests, it also was done at extremely

reasonable rates that in fairness should be paid.1

    In January of 2022, forced to recognize that this work created value for the estate,

Huntington Bank agreed to have the MacWilliams Law PC bills for Dino Drop, Inc.

and Buccaroo, LLC paid at the closing of Vester. That sale ultimately did not close

however due to Dean Bach’s refusal to sign a consent resolution and embarkment

on an ultimately failed campaign to have the settlement agreement thrown out. [Ex.

1, Op. of Oakland County Circuit Court Judge Michael Warren]. Thereafter, with

Huntington Bank’s full knowledge that the firm was continuing to perform this

work, Paige Serra of MacWilliams Law PC continued to perform work for the

receivership companies (Buccaroo Too LLC, Dino Drop, Inc., and 45 Degree

Hospitality, Inc.) to preserve their real estate and liquor license assets. Likewise,

with full knowledge and no objection from Huntington Bank, the Howard Law Firm

continued to represent the companies through the creation of a receivership estate.



1
 The receiver may suggest that some or all of this work was for Mr. Taylor personally. That is
incorrect. Mr. Taylor pays his own legal fees directly. This work was only for the companies.


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   To ensure that there were no questions about the propriety of paying for legal

work on behalf of what is now a receivership estate, rather than pay these invoices

pre-receivership, both MacWilliams Law PC and the Howard Law Firm PLC have

not applied funds held in trust accounts to their outstanding bills. Thus, MacWilliams

Law PC currently has $15,844.22 in trust, and the Howard Law Firm PLC has $6,000

held in trust.

   The receiver’s counsel, who is quickly incurring fees that will weigh this

receivership down, has asked that all of this money simply be handed over to the

receiver. But these amounts would be very quickly swallowed up through legal and

receivership fees in the event the undersigned attorneys did so. Moreover, this

demand ignores their rights as attorneys that have contributed value to the

receivership estate. Counsel thus respectfully requests that the Court permit them to

apply the balances in trust to their outstanding legal fees incurred on behalf of the

receivership parties. Notably, application of the funds in trust to these outstanding

legal fees would result in partial payment only.

   III.   LEGAL ANALYSIS

       Michigan recognizes a common law attorney's lien on a judgment or fund

resulting from the attorney's services. Miller v. Detroit Auto. Inter-Insurance

Exchange, 139 MichApp 565, 568-569 (1984); See also Bruce v. United States, 127

F.Supp. 858 (E.D.Mich.1955); Weeks v. Wayne Circuit Judges, 73 Mich. 256, 41



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N.W. 269 (1889); Wipfler v. Warren, 163 Mich. 189, 128 N.W. 178 (1910); Shank

v. Lippman, 249 Mich. 22, 227 N.W. 710 (1929); Kysor Industrial Corp. v. D.M.

Liquidating Co., 11 Mich.App. 438, 161 N.W.2d 452 (1968); Miles v. Krainik, 16

Mich.App. 7, 167 N.W.2d 479 (1969). “Where another party claims an interest in

the same judgment or recovery as the attorney, the nature of the competing interest

matters in determining whether the attorney charging lien is superior to the other

party's interest. An attorney charging lien is superior to an opposing party's right of

setoff against the same judgment.” Fusion Oil Co v Crescent Petroleum, Inc, No.

04-73395, 2008 WL 11399627, at *2 (ED Mich, February 6, 2008)[Ex. 2]

citing Mahesh v. Mills, 237 Mich. App. 359, 362 (1999). An attorney's lien is not

enforceable against a third party unless the third party has actual notice of the lien

or unless circumstances known to the third party are such that the third party ought

to have inquired as to the claim of the attorney. Grand Rapids & I.R. Co. v.

Cheboygan Circuit Judge, 161 Mich. 190; 126 N.W. 56 (1910); Nichols v.

Waters, 201 Mich. 27, 34, 167 N.W. 1 (1918).

      Here, the Receiver’s counsel, Dawda Mann, was informed on July 26, 2022

[Ex. 3, Email with Dawda Mann Regarding MacWilliams Law Fees], prior to fully

taking over as Receiver of the Estate, that MacWilliams Law and the Howard Law

Firm had unpaid fees requiring payment prior to settling other debts of the

Receivership Companies. Michigan law has stated that if a third-party with valid



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prior-in-time security interest knew or should have known that the attorney's efforts

would inure to its benefit and that the attorney would look to the fruit of those efforts

for payment of attorney fees, equity may demand that the attorney's lien be given

priority. Warner v. Tarver, 158 Mich. App. 593, 599-600 (1986). Even if the

Receiver has other valid "prior-in-time security interests” that need repayment,

the Receiver is required to use the funds in the Receiver Estate to pay the outstanding

attorney liens. In Warner, the court denied the attorney’s claim to fees because the

ultimate funds were an escrow account and because the receiver did not use the

attorney’s effort work-product for its own benefit. The exact opposite situation is

present here. Quite simply, the funds in Receivership Estate are only there due to the

diligent work by Taylor’s counsel and the Receivership Companies’ counsel did in

order to preserve the Estate.

      MacWilliams Law negotiated extremely favorable settlements with several of

the Receivership Companies’ creditors, saving thousands of dollars and effectively

keeping the Receivership Companies viable. Ms. Serra’s work for the Companies in

paying bills, maintaining open accounts, and keeping the properties running also

saved the Receivership Companies thousands of dollars, thus preserving the assets

of the Estate. Without the efforts of MacWilliams Law, there would be no estate for

the Receiver to manage. The Receiver has thus fully retained the benefit of the




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undersigned’s actions and it would be extremely inequitable for them not to be fully

compensated.

   IV.   CONCLUSION

      For the reasons set forth herein, Taylor and the undersigned attorneys

respectfully request that the Court permit the application of funds held in the

MacWilliams Law PC and Howard Law Firm PLC trust accounts to the receivership

companies’ outstanding invoices.


                                             Respectfully submitted,

                                             /s/ Sara K. MacWilliams
                                             MacWilliams Law PC
                                             838 W. Long Lake Road, Suite 211
                                             Bloomfield Hills, MI 48302
                                             (248) 432-1586
Dated: August 18, 2022                       sm@macwilliamslaw.com




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                             PROOF OF SERVICE

      I certify that I filed the foregoing on today’s date in the Court’s ECF system

and the same will be served on all counsel of record.




                                             Respectfully submitted,

                                             /s/ Paige Serra
                                             MacWilliams Law PC
                                             838 W. Long Lake Road, Suite 211
                                             Bloomfield Hills, MI 48302
                                             (248) 432-1586
Dated: August 18, 2022                       sm@macwilliamslaw.com




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                                 EXHIBIT 1

    OP. OF OAKLAND COUNTY CIRCUIT COURT JUDGE MICHAEL

                                 WARREN
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                                 EXHIBIT 2

 FUSION OIL CO V CRESCENT PETROLEUM, INC, NO. 04-73395, 2008 WL

              11399627, AT *2 (ED MICH, FEBRUARY 6, 2008)
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                                                                had granted to Comerica Bank (“Comerica”) a mortgage
                   2008 WL 11399627                             on the property, would, in turn, submit those payments
      Only the Westlaw citation is currently available.         to Comerica. Because Defendants were not making these
             United States District Court, E.D.                 payments, the Court entered an Amended Order Declaring
               Michigan, Southern Division.                     Escrow (“Escrow Order”) on April 19, 2006. The Escrow
                                                                Order established an escrow account to which Defendants
    FUSION OIL COMPANY, New Millennium, Inc.,                   made land contract payments pending the outcome of this
    and Hassan Harajli, Plaintiffs/Counter-Defendants,          litigation. On June 4, 2007, the Court permitted Garan to
                            v.                                  withdraw as counsel for Plaintiffs, because of a breakdown in
                                                                the relationship between Garan and Plaintiffs; Plaintiffs were
            CRESCENT PETROLEUM, INC.,
                                                                not fulfilling their financial obligations to Garan. On July 10,
           et al., Defendants/Counter-Plaintiffs.
                                                                2007, Comerica filed a motion to intervene in the suit, which
                      Case No. 04-73395                         the Court granted. On September 9, 2007, the Court entered
                              |                                 an Order of Default Judgment (“Default Order”) against
                      Signed 02/06/2008                         Plaintiffs. The Default Order, inter alia, disbursed $110,000
                                                                of the $189,000 escrow account to Comerica and left the
Attorneys and Law Firms                                         remaining $70,000 in the account pending the outcome of the
                                                                instant motion.
Cyril C. Hall, Law Offices of Cyril C. Hall, P.C., Dearborn,
MI, Robert E. Forrest, Kerr, Russell, Detroit, MI, for
Plaintiffs/Counter-Defendants.                                  III. LAW & ANALYSIS

Shereef H. Akeel, Akeel & Valentine, Troy, MI, for                A. Motion to Intervene as an Interested Party
Defendants/Counter-Plaintiffs.                                  Garan seeks to intervene as an interested party in this action
                                                                pursuant to Federal Rule of Civil Procedure 24(a)(2) (“Rule
                                                                24(a)(2)”). Rule 24(a)(2) states:
        ORDER DENYING GARAN LUCOW
        MILLER'S MOTION TO INTERVENE
                                                                             (a) Intervention of Right. Upon
DENISE PAGE HOOD, United States District Judge                                  timely application anyone shall be
                                                                                permitted to intervene in an action:
I. INTRODUCTION
                                                                                (2) when the applicant claims an
 *1 These matter is before the Court on Garan Lucow Miller's
                                                                                interest relating to the property or
(“Garan's”) Motion to Intervene as an Interested Party and
                                                                                transaction which is the subject of
to Obtain Payment from Escrowed Funds, filed on August
                                                                                the action and the applicant is so
7, 2007. Comerica Bank (“Comerica”) filed a response on
                                                                                situated that the disposition of the
August 15, 2007. Defendants filed a response on August, 20,
                                                                                action may as a practical matter
2007.
                                                                                impair or impede the applicant's
                                                                                ability to protect that interest, unless
II. FACTS                                                                       the applicant's interest is adequately
The parties to this action entered into various agreements                      represented by existing parties.
involving a fuel station located at 30861 John R. Road,
Madison Heights, Michigan. Plaintiffs initiated the instant
action asserting claims of breach of their motor fuel           Fed. R. Civ. P. 24(a)(2).
agreement and land contract. Defendants filed a counterclaim,
alleging, inter alia, breach of the land contract.              The Rule 24(a)(2) “interest” sought by Garan is $68,788.29
                                                                in legal fees. Garan seeks to obtain payment of these fees
Under the terms of the land contract, Defendants were to        from the escrow account, relying upon the doctrine of attorney
make land contract payments to Plaintiffs. Plaintiffs, who      charging liens. A common law charging lien is an attorney's



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                                                                    The Court concludes that Garan did not waive its right to
equitable right to have the fees and costs for his services
                                                                    assert an attorney lien by withdrawing from the case. A firm
secured out of the judgment or recovery in a particular suit.
                                                                    does not forfeit the lien for services already rendered if it
  Mahesh v. Mills, 237 Mich. App. 359, 361 (1999). In
                                                                    withdraws for good cause. Ambrose, 65 Mich. App. at 488.
Michigan, attorneys are generally permitted to intervene in an
                                                                    Here, Garan withdrew for good cause; its client caused a total
action to protect charging lien interests. See    id. at 364-65.    breakdown in the attorney-client relationship by failing to pay
                                                                    attorneys fees.
 *2 Where an attorney withdraws from a case, his reasons
for doing so determine whether he forfeits his charging lien.       However, as Defendants and Comerica correctly argue, the
    Ambrose v. The Detroit Edison Co., 65 Mich. App. 484,           $189,000 escrow account is neither a fund nor a product of
488 (1975). If he withdraws without cause, he forfeits the          Garan's efforts. The escrow account is not a fund, because it
lien; if he withdraws for good cause, he does not forfeit the       cannot be deemed Plaintiffs' “ultimate recovery.” Id. Plaintiffs
lien for services already rendered. Id. Good cause exists when      had no recovery in this suit. Rather, this Court entered a
the client caused a total breakdown of the attorney-client          Default Judgment Order against Plaintiffs and for Defendants
relationship. Id.                                                   in this suit on September 11, 2007. The escrow account
                                                                    is also not a product of Garan's efforts. Although Garan's
Where another party claims an interest in the same judgment         motions to the Court may have prompted the establishment
or recovery as the attorney, the nature of the competing            of a more formalized process by which Defendants deposited
interest matters in determining whether the attorney charging       their land contract payments into an account, it is undisputed
lien is superior to the other party's interest. An attorney         that Defendants were already making such payments to
charging lien is superior to an opposing party's right of           their attorney's trust account before Garan's intervention.
                                                                    Moreover, because the escrow account is not a fund or
setoff against the same judgment.          Mahesh, 237 Mich.
                                                                    the product of Garan's efforts, it also not a Rule 24(a)(2)
App. at 362 (citations omitted). However, a charging lien
                                                                    “interest.”
is not superior to a prior-in-time security interest unless
equitable considerations demand otherwise. Warner v. Tarver,
                                                                     *3 Even if Garan's efforts had created the escrow account,
158 Mich. App. 593, 599-600 (1986). For example, if a third-
                                                                    its attorney lien would not be superior to Comerica's prior-
party with valid prior-in-time security interest knew or should
                                                                    in-time security interest. Equity does not call for Garan's
have known that the attorney's efforts would inure to its
                                                                    attorney lien to prevail here, because Comerica did not use
benefit and that the attorney would look to the fruit of those
                                                                    Garan's efforts for its own benefit. Rather, Comerica hired its
efforts for payment of attorney fees, equity may demand that
                                                                    own attorney and filed a motion to intervene to insure that it
the attorney's lien be given priority. Id. This is especially so
                                                                    obtained Defendants' land contract payments.
if the third-party never offers any assistance to the attorney in
obtaining the judgment. See id.
                                                                    IV. CONCLUSION
Defendants and Comerica oppose Garan's efforts to recover           Accordingly,
its attorneys fees from the escrow account. They argue that
Garan waived its right to an attorney lien by withdrawing as        IT IS HEREBY ORDERED that Garan Lucow Millers'
Plaintiff's counsel; that the escrow account is not a fund and      Motion to Intervene as an Interested Party and to Obtain
not the fruit of Garan's efforts; and that Comerica's superior      Escrowed Funds [Docket No. 125, filed on August 7, 2007]
mortgage interest entitles it to all proceeds from the escrow       is DENIED.
account. In the alternative, they argue that Garan's fees are
excessive. 1
                                                                    All Citations

                                                                    Not Reported in Fed. Supp., 2008 WL 11399627




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                                                   Footnotes


1     Defendants and Comerica raise two additions arguments. They argue that this Court cannot sustain Garan's
      Motion because the escrow account is the property of a state court receivership estate, and that 15
      U.S.C. § 2801 precludes Garan's recovery, because Garan was not successful in the outcome of this
      litigation. However, because the Court denies Garan's motions on other grounds, these arguments will not
      be addressed.



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                                 EXHIBIT 3

   EMAIL WITH DAWDA MANN REGARDING MACWILLIAMS LAW

                                    FEES
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Paige Serra

From:                                 Frances B. Wilson <fwilson@dmms.com>
Sent:                                 Tuesday, July 26, 2022 3:21 PM
To:                                   Sara MacWilliams
Cc:                                   Paige Serra; Michael Shapiro; Sam Madorsky
Subject:                              HNB v Buccaroo, et al     RE: 22-cv-11290 GAD EAS


Ms. MacWilliams,

Thank you for your email. In response:

    1. Under the Order Appointing Receiver ("OAR") the Receiver will not be paying any pre-receivership liabilities at
       this time.
    2. Please turn over an accounting of all funds that you held in your Firm's account(s).
    3. Please turn over the remaining funds being held in your Firm's Trust Account, to the Receiver, as required under
       the OAR.
    4. Please direct the "would-be" buyer of Vester to contact Mr. Michael Shapiro of the Receiver's office to discuss
       this matter. Please provide me with the name and contact information you have for the purchaser and his
       counsel.
    5. Also, if one exists, please provide a fully executed agreement between the purchaser and the seller. Any
       claimant or creditor of any of the entities making a claim against Receivership Property (as defined in the OAR)
       will be advised that the Judge's Drain's OAR enjoins any actions against Receivership Property.
    6. At this time, are you representing Mr. Taylor? Please advise so the Receiver can determine if a turnover letter
       needs to be issued to Mr. Taylor directly.

Regards,
Frances



Frances Belzer Wilson, Esq.
Dawda Mann Building
Dawda, Mann, Mulcahy & Sadler, PLC
39533 Woodward Avenue, Suite 200
Bloomfield Hills, MI 48304
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From: Sara MacWilliams <sm@macwilliamslaw.com>
Sent: Tuesday, July 26, 2022 11:40 AM
To: Frances B. Wilson <fwilson@dmms.com>
Cc: Paige Serra <paige@macwilliamslaw.com>
Subject: 22-cv-11290 GAD EAS

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Frances,

We do have a little bit of money in our trust account, under $16,000. However we also have unpaid bills for the work
Ms. Serra, copied, has been doing on behalf of the companies to ensure the properties were preserved with electricity
and gas on, insurance brought back up to date, and addressing legal claims. She will send you a spreadsheet of the
expenses incurred from the money to date. We’ve only been billing her out at $200 for this work, about $10,000 of
which was agreed by Huntington to be paid in a closing on the Vester street property that ultimately never closed. Do
you want to work out an agreement to address those unpaid bills or is that something that we need to file a motion
about?

Separately, the would-be buyer of Vester continues to ask us when the sale will close. Someone should follow up with
him soon, he does have counsel and had planned to file a complaint for specific performance.

Best,

Sara K. MacWilliams
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